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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                         Case No.: 8:19-bk-00155-RCT
                                                               Chapter 7
James Edward Nimmo
Maryanna Anna Nimmo

DEBTORS                           /


              RESPONSE TO MOTION FOR RELIEF FROM THE AUTOMATIC STAY

         Stephen L. Meininger, the Trustee in this case, by and through the undersigned counsel

objects to the relief requested in the Motion for Relief from the Automatic Stay (Dkt. No. 17)

(hereinafter the “Motion for Relief”) filed by Creditor Lakeview Loan Servicing (hereinafter

“Lakeview”) and in support thereof states as follows:

         1.      Lakeview seeks to lift the stay with regard to a property located at 15841 Cobble

                 Mill Drive, Wimauma, FL 33598 (hereinafter “the Property”), to pursue its in rem

                 remedies. After some online research, it appears that the Property is a viable asset

                 of the estate, with equity, and that upon sale could generate enough sale proceeds

                 to create a meaningful distribution to the unsecured creditors of the estate.

         2.      The Trustee has already identified real estate professionals to help liquidate the

                 Property as efficiently as possible and will be filing applications to employ these

                 individuals shortly.

         3.      The Trustee opposes any relief wherein the Lakeview is afforded to coordinate the

                 turnover of the Property with the Debtor(s) so long as the Property remains property

                 of the estate.

         WHEREFORE, The Trustee seeks an order denying Lakeview’s Motion for Relief so that
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he may try to sell the Property for the benefit of all interested parties, and for any other relief which

this court deems just.

DATED: March 19, 2019

                                         /s/ Richard M. Dauval
                                        Richard M. Dauval, Esq.
                                        Attorney for the Trustee
                                        Leavengood, Dauval, Boyle & Meyer, P.A.
                                        3900 1st Street North, Saint Petersburg, FL 33703
                                        rdauval@leavenlaw.com

                                  CERTIFICATE OF SERVICE

        I certify that on March 19, 2019, a true and correct copy of the foregoing was provided
by U.S. mail and/or electronic delivery to: U.S. Trustee, USTPRegion21.TP.ecu@usdoj.gov;
Copies furnished to:
James Edward Nimmo, 241 Courtyard Blvd., 201, Sun City Center, FL 33573
Maryanna Anna Nimmo, 3850 Upper Creek Drive, 1st Floor, 107 D, Sun City Center, FL 33573
Elyssa Harvey, Esq., elyssa@brandonlawyer.com
Jeffrey Fraser, Esq. bkfl@albertellilaw.com
Trustee Stephen L Meininger 707 North Franklin Street Suite 850 Tampa, FL 33602

                                         /s/ Richard M. Dauval
                                        Richard M. Dauval, Esq.
